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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

JAMES GARAVAGLIA,                         )
                                          )
               Plaintiff,                 )
                                          )
          v.                              )         Case No. 4:20 CV 1681 CDP
                                          )
CITY OF ST. LOUIS, et al.,                )
                                          )
               Defendants.                )

                                   JUDGMENT

      In accordance with the Memorandum and Order entered October 5, 2021

(ECF 60),

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that to the

extent plaintiff James Garavaglia’s Second Amended Complaint asserts claims

against defendant Darlene Green under the Age Discrimination in Employment Act,

Title VII of the Civil Rights Act, and the Missouri Human Rights Act, and asserts

claims other than for constructive discharge, said claims are dismissed.

      In accordance with the Memorandum and Order entered this date,

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that

summary judgment is entered in favor of defendants City of St. Louis and Darlene

Green and against plaintiff James Garavaglia on plaintiff’s claim of constructive

discharge.
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      Plaintiff James Garavaglia’s Second Amended Complaint is therefore

dismissed in its entirety with prejudice. Plaintiff shall bear all taxable costs of this

action.




                                           _______________________________
                                           CATHERINE D. PERRY
                                           UNITED STATES DISTRICT JUDGE

Dated this 25th day of July, 2022.




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